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                                   UNITED STATES DISTRICT COURT
                                  NORTHERN DISTRICT OF OKLAHOMA

   VIDEO GAMING TECHNOLOGIES, INC.,

                     Plaintiff,                               CASE NO. 17-CV-00454-GKF-JFJ
   v.

   CASTLE HILL STUDIOS LLC, et al.

                     Defendants.

    DEFENDANTS’ OPPOSITION TO PLAINTIFF’S MOTION FOR LEAVE TO FILE
                 SUPPLEMENTAL BRIEF IN SUPPORT OF ITS
                    MOTION FOR SUMMARY JUDGMENT

           Defendants Castle Hill Studios LLC, Castle Hill Holdings LLC, and Ironworks

   Development LLC (collectively, “Castle Hill”) hereby oppose VGT’s Motion for Leave to File

   Supplemental Brief In Support Of Its Motion For Summary Judgment (Doc. 292) (“Motion”).

   VGT’s Motion is a cynical attempt to reopen the summary judgment record based on an alleged

   “statement made by CHG” which it “recently discovered.” VGT’s Motion at 1-2. In reality, this

   “evidence” is neither “recently” discovered nor a statement made by Castle Hill. It is inadmissible

   hearsay, upon which VGT may not rely as support for its motion for summary judgment. See Fed. R.

   Civ. P. 56(c)(2); Argo v. Blue Cross and Blue Shield of Kansas, Inc., 452 F.3d 1193, 1199 (10th Cir. 2006).

           VGT attached the letter it places at issue as Exhibit 1 to the Declaration of Gary Rubman in

   Support of its Opposition to Defendants’ Motion Challenging Plaintiff’s Designations under the

   Protective Order (“Rubman Decl.”). See Doc. 289-1 & 289-2. 1 According to VGT, this letter was

   “sent from the Coalition for Fair Gaming to the National Indian Gaming Commission (‘NIGC’),

   dated December 11, 2017,” and “currently is available via the website of the Coalition for Fair

   Gaming at http://www.fairnessfight.com.” Rubman Decl. ¶ 2.

           The letter – formal public comments to a regulatory body concerning proposed regulations

           1
               For the Court’s convenience, a copy of the letter is attached hereto as Exhibit A.


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   from an advocacy group – has been in the public domain since 2017, appears on the letterhead of

   the Coalition for Fair Gaming, and is signed by Richard Dreitzer, on behalf of “The Coalition for Fair

   Gaming.” Castle Hill is not a signatory, and it is not even mentioned anywhere in the letter. In its

   Motion, VGT makes no attempt to explain why this third party comment letter to regulators

   concerning proposed regulations is attributable to Castle Hill, and instead merely refers the Court –

   in a footnote – to its prior brief in opposition to Castle Hill’s motion challenging certain

   designations under the Protective Order. See Motion at 2 n.2 (citing Dkt. 290 at 6-7 (“discussing

   evidence supporting conclusion that CHG has been lobbying the NIGC through the ‘Coalition for

   Fair Gaming’).”

           The sum total of this “evidence” supporting Castle Hill’s role in the Coalition is the fact that

   an “early draft” of a different letter from the Coalition to the NIGC, which VGT found on the

   Coalition’s website, references someone named “Jason,” which VGT wildly speculates must

   necessarily be Jason Sprinkle, a Castle Hill employee, 2 and the fact that Castle Hill produced a draft

   of yet another letter to the NIGC that it had in its files in discovery. 3 See Dkt. 290 at 6-7. VGT does

   not claim that the actual letter at issue was ever produced in discovery by Castle Hill, it does not

   claim that Castle Hill has ever adopted the letter as its own statement, and it never once questioned a

   single Castle Hill witness about the letter during discovery.

           “Supplemental briefs are not encouraged,” LCvR 7.2(h), and the Court should not permit

   one here, particularly after extensive motions practice and briefing for which the Court already



           2
             Despite deposing Mr. Sprinkle for two full days, VGT failed to ask him a single questions
   about this document.
           3
             This unrelated letter was produced early on during fact discovery – well before the
   summary judgment deadline. Nevertheless, VGT failed to take discovery on this issue or raise these
   arguments in its summary judgment motion. If VGT believed that Castle Hill’s statements in its
   opposition were somehow “contradicted” by the Coalition for Fair Gaming letter, then VGT should
   have raised the issue in its reply.


                                                       2
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   extended the page limits and deadlines of all summary judgment briefs. 4 VGT had 75 pages to set

   forth its summary judgment argument, including a 25 page reply after Castle Hill raised its allegedly

   “contradictory” statements in its opposition. The letter was not used as an exhibit by either party at

   any of the 40-plus fact depositions in the case. VGT did not take any third-party discovery from the

   Coalition for Fair Gaming or the NIGC regarding this letter. Nonetheless, armed with no discovery

   and no facts whatsoever, VGT claims the letter is a “statement made by CHG.”

          Even assuming Castle Hill was somehow involved with the Coalition for Fair Gaming letter,

   it is a far cry to attribute the statements of a third party to Castle Hill. VGT cites no cases for the

   proposition that a lobbying or political group’s statements are properly imposed on its members or

   affiliates. And even if the statements were somehow attributable to Castle Hill, there is nothing to

   VGT’s argument that the Court need accept the purported evidence. VGT raises this argument in an

   effort to prove that there is no nexus between VGT’s non-compliance and its trademark use. But as

   Castle Hill pointed out in its summary judgment opposition, no Circuit Court has ever actually

   adopted this requirement, so the Court need not consider the “evidence”. See Doc. 240 at 47.

          There is no reasonable basis for VGT’s delay. VGT’s failure to investigate documents which

   VGT concedes are publicly available, Castle Hill produced in discovery, and/or itemized on its

   privilege log well in advance of summary judgment, are problems of VGT’s own making. VGT

   could have timely raised all of these issues in its reply brief without any need to reopen the summary

   judgment record. VGT simply failed to consider or pursue this line of inquiry during discovery, or to

   raise this argument during summary judgment briefing. VGT should not now be permitted to delay

   and supplement the record with its unsubstantiated and undeveloped theories. Plaintiff’s Motion for

   Leave should be denied.

          4
            Notably, VGT opposed Castle Hill’s request for even larger page limits, see Doc. 137 at 1-2,
   and has recently complained about the number of pending motions in the case. See Doc. 290 at 4
   n.4.


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   Dated: February 19, 2019             Respectfully submitted,

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                                   CERTIFICATE OF SERVICE

           I hereby certify that on this 19th day of February, 2019, I caused a copy of the foregoing
   DEFENDANTS’ RESPONSE IN OPPOSITION TO PLAINTIFF’S MOTION FOR
   LEAVE TO FILE SUPPLEMENTAL BRIEF IN SUPPORT OF ITS MOTION FOR
   SUMMARY JUDGMENT to be filed using the Court’s electronic filing system, which will provide
   notice of filing to the following counsel for Plaintiff:

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